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 6   Attorney for defendant
     GARY LOCH
 7

 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        No. 2:16-CR-00134-KJM-4

12                      Plaintiff,                    STIPULATION AND ORDER FOR
                                                      PERMISSION TO TRAVEL
13          v.                                        UNMONITORED

14   GARY LOCH,

15                      Defendant.

16

17          The defendant, Gary Loch, through his undersigned counsel and the United States,

18   through its undersigned counsel, hereby agree and request that the Court issue an order allowing

19   Mr. Loch to travel unmonitored roundtrip from Oregon to Sacramento and to spend the night in

20   Stockton in order to appear at his change of plea hearing, which is scheduled for Wednesday,

21   October 18, 2017 at 9:00 am before Judge Mueller.

22          Mr. Loch resides in Oregon and is under the courtesy supervision of PTS Officer Lisa

23   Brown of the United States Pretrial Services Office in the District of Oregon. Mr. Loch has

24   received permission from PTS Officer Brown and Eastern District of California PTS Officer Rene

25   Basurto to travel from Oregon to the Eastern District of California, specifically Stockton and

26   Sacramento, CA, for his change of plea hearing. Specifically, Mr. Loch will depart from Oregon,

27   tomorrow, Tuesday, October 17, 2017, at 8:00 pm and drive to Stockton, CA, where he will

28   spend the night with Sarah Nhep at 9170 Kirkby Lane, Stockton, CA. The following day,
                                                      1
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 1   Wednesday, October 18, 2017, Mr. Loch will leave Stockton by 7:00 am and travel to

 2   Sacramento for court at 9:00 am. Following court, Mr. Loch will leave Sacramento around 1:00

 3   pm and travel back to Oregon to arrive at his residence of record before 10:00 pm.

 4           Mr. Loch is subject to electronic monitoring pursuant to the conditions of his release and

 5   requires the Court’s permission to travel unmonitored and to spend the night away from his

 6   residence. As such, the parties request the Court grant Mr. Loch permission to travel roundtrip

 7   from Oregon to the Eastern District of California, specifically, to Stockton and Sacramento, for

 8   the purpose of attending his change of plea hearing on Wednesday, October 18, 2017.1

 9

10   Date: October 16, 2017                                               PHILLIP A. TALBERT
                                                                          United States Attorney
11

12                                                                        /s/ Richard J. Bender
                                                                          RICHARD J. BENDER
13                                                                        Assistant U.S. Attorney

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15   Date: October 16, 2017                                               /s/ WILLIAM BONHAM for
                                                                          WILLIAM BONHAM
16                                                                        Counsel for defendant
                                                                          GARY LOCH
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      This stipulation does not preclude the government from moving to remand Mr. Loch at the conclusion of his change
28   of plea hearing.
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 1                                                 ORDER

 2          IT IS SO ORDERED. Mr. Loch has permission to travel roundtrip from Oregon to the

 3   Eastern District of California, specifically, to Stockton and Sacramento, in line with the itinerary

 4   set forth above, for the purpose of attending his change of plea hearing on Wednesday, October

 5   18, 2017.

 6   Dated: October 17, 2017

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